Case 1:22-mc-20707-JEM Document 7-1 Entered on FLSD Docket 05/02/2022 Page 1 of 8



    Beg n forwarded message:

      From: Am t For t                >
      Date: Apr 26, 2022 at 09:03:37 EDT
      To:
      Subject: Fwd: Insight Analysis and Research LLC and SDC-Gadot LLC




                                                                                                                :‫התחל הודעה מועברת‬

                                                                                                 <Am t For t <             :‫מאת‬
                                                                                      GMT+3 08:19:34 ‫ בשעה‬2022 ‫ באפריל‬26 :‫תאריך‬
                                                                                                                             :‫אל‬
                                                             ​Insight Analysis and Research LLC and SDC-Gadot LLC :‫ הועבר‬:‫נושא‬




                                                                                                                :‫התחל הודעה מועברת‬

                                                                                       <Sh mon <                            :‫מאת‬
                                                                                       GMT+3 03:49:37 ‫ בשעה‬2022 ‫ באפריל‬26 :‫תאריך‬

                                                                                                                        :‫עותק‬
                                                             ​Insight Analysis and Research LLC and SDC-Gadot LLC :‫ הועבר‬:‫נושא‬


          Dear Mr For t

          I am send ng th s as your reg stered agent for your US corporat ons. My prev ous ema came back returned. I m staken y put
          the address ncorrect y. I wrote “.com” nstead of “.co”

          P ease see the attached regard ng the awsu t fi ed aga nst ns ght ana ys s and SDC-Gadot. P ease et me know f you’d ke
          me to share your ema w th the other attorneys so they may contact you d rect y.

          Regards


          Sh mon Go dberger
          SRSL Management Inc
          3200 Co ns Ave
          M am Beach, FL 33140



          Sent from my Phone p ease excuse any typograph ca errors.

          Beg n forwarded message:

          From: "Herbert, Ian" <                  >
          Date: Apr 7, 2022 at 3:23:54 PM EDT
          To:
          Cc: "Lee, Ca v n" <               >
          Subject: Insight Analysis and Research LLC and SDC-Gadot LLC



          Dear Mr. Go dberger,



          We represent Farhad Az ma n the UK awsu t sty ed Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard (3) Dechert LLP and
          (4) James Edward Deniston Buchanan (C a m Number HC-2016-002798). Thank you for tak ng the t me to ta k w th me and my
          co eague, Ca v n Lee, regard ng the subpoenas you rece ved for Ins ght Ana ys s and Research LLC (“Ins ght”) and SDC-Gadot
          LLC (“Gadot”). To prevent m sunderstand ngs ater, we wr te to memor a ze our conversat on and fo ow up on the tems we
          d scussed.
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        In response to our serv ce of the subpoenas, you exp a ned that you needed to refresh your reco ect on about these
        compan es, s nce you n t a y d d not reca agree ng to serve as the r reg stered agent. After do ng so, you reca ed that n
        2017, your CPA Ar Prop s asked you to serve as the reg stered agent for severa compan es, nc ud ng Ins ght and Gadot, and
        you agreed to do so. A of the compan es for wh ch you serve as reg stered agent were set up by Mr. Prop s. Though you
        agreed to serve as reg stered agent, you had not been pa d pr or to rece v ng the above-reference subpoenas. However, after
        you were served w th the subpoenas, Ins ght and Gadot pa d a outstand ng fees, and you have now confirmed that you are the
        reg stered agent for both compan es.



        You a so confirmed that you prov ded the subpoenas to Mr. Prop s and the author zed representat ves for Ins ght (A on Amr
        Gur av e) and Gadot (Am t For t). As I ment oned on the ca , the court a so author zed us to ssue a subpoena for depos t ons,
        wh ch are attached to th s ema . You sa d that you wou d accept serv ce of the depos t on subpoenas by ema . We are
        seek ng the 30(b)(6) depos t ons of Ins ght and Gadot, and a depos t on of Mr. For t n M am the week of May 2, 2022.



        P ease confirm that you accept serv ce of these add t ona subpoenas and w prov de them to the author zed representat ves.
        P ease a so et me know f my understand ng of the facts as descr bed above s ncorrect n any way.



        K nd regards,

        Ian




        IAN A. HERBERT
        Counsel | he/him/his | Miller & Chevalier Chartered
        900 16th Street NW | Black Lives Matter Plaza | Washington, DC 20006
                               | 202.626.1496 |

        ***
        This electronic message contains information which may be legally confidential and/or privileged. The
        information is intended solely for the individual or entity named above and access by anyone else is
        unauthorized. If you are not the intended recipient, any disclosure, copying, distribution, or use of the
        contents of this information is prohibited and may be unlawful. If you have received this electronic
        transmission in error, please reply immediately to the sender that you have received the message in
        error, and delete it. Thank you.




        Notice of            Notice of             Notice of
     Deposi…ght.pdf       Deposi…dot.pdf         Deposi…rlit.pdf
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                        N THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION

                                                 )
   In re: Application Pursuant to                )
   28 U.S.C.§ 1782 of                            )
                                                 )
   FARHAD AZIMA                                  )
                                                 )
                         Petitioner,             )   No. 22-20707-MC-MARTINEZ
                                                 )
          v.
                                                 )
   INSIGHT ANALYSIS AND RESEARCH                 )
   LLC AND SDC-GADOT LLC                         )
                                                 )
                          Respondents,           )
                                                 )
                                                 )
                                                 )

                                    NOTICE OF DEPOSITION

         Please take notice that pursuant to Federal Rule of Civil Procedure 30 and Local Rule

  26.1(h) on May 4, 2022, commencing at 10:00 AM, counsel for Petitioner, Farhad Azima,

  (“Azima”) will take the deposition of Amit Forlit c/o Insight Research Analysis LLC and SDC-

  Gadot LLC at Carlton Fields, P.A., 700 NW 1st Avenue, Suite 1200, Miami FL 33136, or at

  such other time, date and place as my subsequently be agreed upon by parties. The deposition

  shall be taken before a person authorized to administer oaths and will be recorded by sound,

  video and/or stenographic means. The deposition will continue from day to day between the

  hours of 10:00 AM and 5:00 PM until completed. The deposition will be used for purposes of

  Farhad Azima -v- (1) RAKIA (2) David Neil Gerrard (3) Dechert LLP and (4) James Edward

  Deniston Buchanan (Claim Number: HC-2016-002798), as described in the Application for

  Order to Take Discovery Pursuant to 28 U.S.C. Section 1782. ECF No. 1.
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                                     Respectfully submitted,


  Dated: April 7, 2022               /s/ Michael S. Pasano
                                     Michael S. Pasano (FBN 475947)
                                     Email: MPasano@carltonfields.com
                                     Vanessa Singh Johannes (FBN 1028744)
                                     E-mail: VJohannes@carltonfields.com
                                     CARLTON FIELDS P.A.
                                     700 N.W. 1st Avenue, Suite 1200
                                     Miami, Florida 33136-4118
                                     Telephone: (305) 530-0050

                                     /s/ Kirby D. Behre
                                     Kirby D. Behre (admitted pro hac vice)
                                     MILLER & CHEVALIER CHARTERED
                                     900 16th Street, NW
                                     Washington, D.C. 20006
                                     Telephone: (202) 626-5800
                                     Fax: (202) 626-5801
                                     Email: kbehre@milchev.com

                                     Counsel for Petitioner




                                        2
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 7, 2022, I caused a true and correct copy of the Notice of

  Deposition will be sent via e-mail to the following addresses:

  INSIGHT ANALYSIS AND RESEARCH LLC
  13727 SW 152 Street #715
  Miami, Florida 33177
  c/o Shimon Goldberg
  Manager’s Office
  3200 Collins Ave.
  Miami Beach, FL 33140
  shimon@srslmanagement.com

  SDC-GADOT LLC
  3200 Collins Ave.
  Suite L2
  Miami Beach, Florida 33140
  c/o Shimon Goldberg
  Manager’s Office
  3200 Collins Ave.
  Miami Beach, FL 33140
  shimon@srslmanagement.com




                                                        /s/ Michael S. Pasano
                                                         Michael S. Pasano
    Case 1:22-mc-20707-JEM Document 7-1 Entered on FLSD Docket 05/02/2022 Page 6 of 8
AO 88A (Rev.    / ) Subpoena to Testify at a Deposition in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                            for the
                                                          Southern District
                                                       __________  District of
                                                                            of Florida
                                                                               __________

                         Ú¿®¸¿¼ ß¦·³¿                                          )
                              Plaintiff                                        )
                                 v.                                            )      Civil Action No.     îîóîðéðéóÓÝóÓ¿®¬·²»¦
           ×²-·¹¸¬ ß²¿´§-·- ú Î»-»¿®½¸ ÔÔÝ ¿²¼                                 )
                     ÍÜÝóÙßÜÑÌ ÔÔÝ                                             )
                             Defendant                                         )

                            SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:                                                       ß³·¬ Ú±®´·¬
                     ½ñ± Í¸·³±² Ù±´¼¾»®¹»®ô íîðð Ý±´´·²- ßª»²«» ½ñ± Ó¿²¿¹»®ù- Ñºº·½»ô Ó·¿³· Þ»¿½¸ô ÚÔ ííïìð
                                                      (Name of person to whom this subpoena is directed)

       ì




 Place: Ý¿®´¬±² Ú·»´¼-ô Ðòßò                                                           Date and Time:
           éðð ÒÉ ï-¬ ßª»²«»ô Í«·¬» ïîððô Ó·¿³·ô ÚÔ ííïíêóìïïè                                           ðëñðìñîðîî ïðæðð ¿³

           The deposition will be recorded by this method:                    ª·¼»± ¼»°±-·¬·±²

           Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material:




       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        ðìñðéñîðîî
                                 CLERK OF COURT
                                                                                         OR
                                                                                                            ñ-ñ Ó·½¸¿»´ Íò Ð¿-¿²±
                                          Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Ð»¬·¬·±²»®ô Ú¿®¸¿¼ ß¦·³¿ô                                               , who issues or requests this subpoena, are:
Ó·½¸¿»´ Íò Ð¿-¿²±ô Ý¿®´¬±² Ú·»´¼-ô î Ó·¿³·Ý»²¬®¿´ô éðð ÒÉ ï-¬ ßª»òô Í¬»ò ïîððô Ó·¿³·ô ÚÔ ííïíêå íðëòëíðòððëðå
³°¿-¿²±à½¿®´¬±²º·»´¼-ò½±³
                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. îîóîðéðéóÓÝóÓ¿®¬·²»¦

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                        .

              I served the subpoena by delivering a copy to the named individual as follows:


                                                                                   on (date)                     ; or

              I returned the subpoena unexecuted because:
                                                                                                                               .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                      .

My fees are $                                    for travel and $                      for services, for a total of $   ðòðð   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                          Server’s signature



                                                                                        Printed name and title




                                                                                           Server’s address

Additional information regarding attempted service, etc.:
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AO 88A (Rev. 2/ ) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
